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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

UNITED STATES OF AMERICA


vs.                                                 CASE NO. 3:96cr65LAC

MARCUS TALLEY

___________________________________________/

                      ORDER DENYING RECUSAL AND STAY

Defendant seeks to have this Judge recuse himself from this case and to stay the order of 31
October 2006 requiring defendant’s further commitment under 18 U.S.C. §4241 pending the
resolution of his motion for recusal. He claims because his brother, Virgil Talley, has been
indicted for allegedly trying to harass, defraud and/or cause financial harm to this Judge, that
this Court’s impartiality might reasonably be questioned requiring recusal under 28 U.S.C.
§455(a). This Court disagrees and DENIES the motion for recusal and denies the motion for
a stay as moot.


The basis for the motion is that the defendant’s brother, Virgil Talley, has been indicted for
trying to harass, defraud and/or cause financial harm to this Judge. This defendant, Marcus
Talley, is not alleged to have participated in any way in the acts of his brother. As cited by
the Government, courts have concluded that personal attacks against a judge, written
criticism regarding a judge, instituting legal proceedings against a judge, and even
threatening to kill a judge, do not warrant recusal of the judge. Certainly then, this Court
is not required to recuse itself when it is a brother of the defendant—not the defendant
himself—who is alleged to have harassed this judge by instituting legal proceedings against
him.
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The standard for recusal under §455(a) is “whether an objective, disinterested, lay observer
fully informed of the facts underlying the grounds on which recusal was sought would
entertain a significant doubt about the judge’s impartiality.” In this case, any objective,
disinterested, lay observer would know that this judge was not harmed in any way, physically
or financially, by the actions of Virgil Talley and was not even required to respond to the
bizarre claims asserted. No fully informed observer would entertain a significant doubt about
this judge’s impartiality in the case of Marcus Talley.


ORDERED this 9 th day of January, 2007.




                                          s /L.A. Collier
                                          LACEY A. COLLIER
                                          SENIOR UNITED STATES DISTRICT JUDGE
